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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

            v.
                                                           Crim. No. 19-CR-18 (ABJ)
 ROGER STONE, JR.,

                 Defendant.


         GOVERNMENT’S RESPONSE TO DEFENDANT’S OBJECTION TO
        NOTICE OF DESIGNATION OF PENDING RELATED CRIMINAL CASE

       The United States of America respectfully responds as follows to defendant Roger Stone,

Jr.’s objections to the notice of related case. For the reasons set forth below, this case was properly

related to United States v. Netyksho et al., Case No. 18-CR-00215 (ABJ), under Local Criminal

Rule 57.12, and therefore the defendant’s request that this case be sent for random assignment

should be denied.

                                PROCEDURAL BACKGROUND

       On January 24, 2019, a grand jury sitting in the District of Columbia returned the present

seven-count indictment against the defendant. Dkt. No. 1. The indictment alleges that, beginning

in approximately the summer of 2016, the defendant claimed publicly and privately to have been

in communication with the head of Organization 1 about future releases of information damaging

to the U.S. presidential campaign of Hillary Clinton. Id., ¶¶ 5, 13. The indictment further alleges

that the defendant subsequently obstructed a congressional investigation “into Russian interference

in the 2016 U.S. presidential election, which included investigating [the defendant’s] claims of

contact with Organization 1.” Id. ¶ 7. The defendant’s obstructive activity included false

statements in congressional testimony about his remarks and private communications pertaining

to Organization 1. Id., ¶¶ 20, 21. At the time of the docketing of the indictment, the government
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designated this case as related to United States v. Netyksho, 1:18-CR-00215 (ABJ).

       In Netyksho, eleven Russian military officers are charged by indictment with, inter alia,

conspiring to hack into the computers of U.S. persons and entities involved in the 2016 U.S.

presidential election, steal documents from those computers, and stage releases of the stolen

documents to interfere with the 2016 U.S. presidential election. Indictment ¶¶ 2, 4-6, United States

v. Netyksho, 1:18-CR-215 (D.D.C. July 13, 2018) Dkt. No. 1. 1 As part of their efforts to stage the

release of the stolen documents for purposes of election interference, the Netyksho indictment

alleges that the defendants arranged to release through Organization 1 some of the documents they

stole, including documents from the Democratic National Committee (“DNC”) and the personal

emails of the Clinton campaign chairman. Id. ¶ 7. Certain Netyksho defendants, through a

fictitious online persona they created, Guccifer 2.0, also interacted directly with Stone concerning

other stolen materials posted separately online. Id. ¶ 44.

                                          ARGUMENT

       Local Criminal Rule 57.12 requires the United States Attorney to notify the clerk of the

existence of a related case upon returning an indictment. Local Cr. R. 57.12(b)(1). Local Criminal

Rule 57.12(a)(1) provides that criminal cases are related “when (i) a superseding indictment has

been filed, or (ii) more than one indictment is filed or pending against the same defendant or

defendants, or (iii) prosecution against different defendants arises from a common wiretap, search

warrant, or activities which are a part of the same alleged criminal event or transaction.” Id. at

57.12(a)(1). The purpose of Rule 57.12 is to effectuate the principle that, “[a]s a matter of court

management and efficiency, the assignment of related matters to a single judge is preferred.”



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 A twelfth individual was charged with conspiring to hack into the computers of U.S. persons and
entities responsible for the administration of the 2016 U.S. elections. Id. ¶ 69.


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Clifford v. United States, 136 F.3d 144, 148 (D.C. Cir. 1998) (citing former Local. Cr. R. 405,

which was identical to the current Local Cr. R. 57.12(a)(1)).

       The government related this case to the earlier indictment returned in United States v.

Netyksho pursuant to Local Criminal Rule 57.12(a)(1)(iii) as a prosecution against a different

defendant that “arises from a common . . . search warrant” and from “activities which are a part of

the same alleged criminal event or transaction.” In particular, evidence in this case was found in

accounts that were subject to search warrants executed in Netyksho. Moreover, the alleged

obstructive conduct in this case was directed at a congressional investigation into conduct that

formed the basis for the criminal charges in Netyksho.

       A. This Case and Netyksho Arise from Common Search Warrants.

       This case is properly related to Netyksho because both cases “arise[] from . . . common . .

. search warrant[s].” Local Cr. R. 57.12(a)(1)(iii).

       As alleged in the Netyksho indictment, in 2016, the Netyksho defendants stole documents

from the DNC, the Democratic Congressional Campaign Committee, and the Clinton campaign

chairman. Those defendants then released many of the stolen documents, including through a

website maintained by Organization 1. In the course of investigating that activity, the government

obtained and executed dozens of search warrants on various accounts used to facilitate the transfer

of stolen documents for release, as well as to discuss the timing and promotion of their release.

Several of those search warrants were executed on accounts that contained Stone’s

communications with Guccifer 2.0 and with Organization 1. Evidence obtained from those search

warrants resulted in the allegations that the Netyksho defendants hacked and stole documents for

release through intermediaries, including Organization 1, and that Stone lied to a congressional

committee investigating, among other things, the activities of Organization 1 regarding those




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stolen documents. The relevant search warrants, which are being produced to the defendant in

discovery in this case, are discussed further in a sealed addendum to this filing.

        B. This Case and Netyksho Involve Activities That Are Part of the Same Alleged
           Criminal Event or Transaction.

        This case is properly related to Netyksho for the additional reason that the cases “arise[]

from . . . activities which are a part of the same alleged criminal event or transaction.” Local Cr.

R. 57.12(a)(1)(iii).

        Local Criminal Rule 57.12(a)(1)(iii) provides that criminal cases are related when

“prosecution against different defendants arises from . . . activities which are a part of the same

alleged criminal event or transaction.”       Cases may be related under Local Criminal Rule

57.12(a)(1)(iii) regardless of whether the related activities are charged in both cases. See, e.g.,

United States v. Smith, Crim. No. 90-023501 (RCL), 1990 WL 91611, at *1 (D.D.C. June 19, 1990)

(“The court interprets Rule 405,” the predecessor to Local Rule 57.12, “as allowing a related case

designation when the prosecution ‘arises from’ activities which are part of the same criminal event

or transaction, whether or not the related activities are charged.”).

        As discussed above, the Netyksho case concerns the theft of documents, some of which

were then released through a website maintained by Organization 1. This case concerns the

defendant’s efforts to obstruct a congressional investigation into that conduct. As alleged in the

indictment, the defendant made false statements, withheld documents, and tampered with a witness

in connection with the efforts of a congressional committee to assess whether any U.S. person or

campaign coordinated in or had advance knowledge of the releases of stolen documents.

        In other words, the criminal conduct alleged in Netyksho was a central focus of the

congressional investigation that the defendant is alleged to have obstructed, and therefore the

activities underlying the crimes charged in that case are part of the same activities underlying the



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crimes charged in this case. The defendant’s false statements did not arise in a vacuum: they were

made in the course of an investigation into possible links between Russian individuals (including

the Netyksho defendants), individuals associated with the dumping of materials (including

Organization 1), and U.S. persons (including the defendant).

       Defendant’s argument that this case is not properly related to Netyksho “since no American

actors are alleged in that case to have engaged in wrongdoing,” Dkt. No. 27, at 6, misses the mark

because Local Rule 57.12(a)(1)(iii) applies only where the two cases have no common defendant.

See Smith, 1990 WL 91611, at *1 (rejecting defendant’s contention that cases were not related

because there was no common defendant, noting that the local rule only applies where there is no

defendant in common). Moreover, defendant’s claim that his case is not related to Netyksho

because “[t]he Netyksho case alleges a theft not involving Mr. Stone, who, instead is alleged to

have lied about issues” before Congress, Dkt. No. 27, at 6, is similarly unavailing because the same

criminal activities need not be charged in the indictments for both cases to be related under Local

Rule 57.12. See, e.g., Smith 1990 WL 91611, at *1 (noting that cases may be related whether or

not the same criminal activity is charged in both).

       Finally, defendant’s contention that relating this case to Netyksho pursuant to Local Rule

57.12 violates his due process rights is without merit. As the courts have recognized, “[t]he

assignment of cases does not give or deny any litigant any due process rights.” Bd. of Sch. Dirs.

of Milwaukee v. Wis., 102 F.R.D. 596, 598 (E.D. Wis. 1984); see also United States v. Keane, 375

F. Supp. 1201, 1204 (N.D. Ill. 1974) (concluding that “a defendant has no vested right to have his

case tried before any particular judge, nor does he have the right to determine the manner in which

his case is assigned to a judge”).

       For the reasons set forth above, this case was properly related to Netyksho, and therefore




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the defendant’s request to have this case randomly assigned should be denied.



                                     Respectfully submitted,

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